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                                  UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION

       INTERSECTIONS INC. and                     .       Civil Action No. 1:09cv597
       NET ENFORCERS, INC.,                       .
                                                  .
                              Plaintiffs,         .
                                                  .
               vs.                                .       Alexandria, Virginia
                                                  .       December 17, 2009
       JOSEPH C. LOOMIS and                       .       10:00 a.m.
       JENNI M. LOOMIS,                           .
                                                  .
                              Defendants.         .
                                                  .
       .   .   .     .   .    .   .   .   .   .   .

                             TRANSCRIPT OF FINAL PRETRIAL CONFERENCE
                             BEFORE THE HONORABLE LEONIE M. BRINKEMA
                                   UNITED STATES DISTRICT JUDGE

       APPEARANCES:

       FOR THE PLAINTIFFS:                        MICHELLE J. DICKINSON, ESQ.
                                                  MELISSA R. ROTH, ESQ.
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                                                    and
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       FOR THE DEFENDANTS:                        THOMAS M. DUNLAP, ESQ.
                                                  ELLIS BENNETT, ESQ.
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                                              (Pages 1 - 24)

                     COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES
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    1                             P R O C E E D I N G S

    2               THE CLERK:    Civil Action 09-597, Intersections Inc., et

    3   al. v. Joseph C. Loomis, et al.        Would counsel please note their

    4   appearances for the record.

    5               MS. DICKINSON:   Good morning, Your Honor.      Michelle

    6   Dickinson, Melissa Roth, and Ryan Berry for the plaintiffs,

    7   Intersections and Net Enforcers.

    8               THE COURT:    Good morning.

    9               MR. DUNLAP:   Good morning, Your Honor.      Tom Dunlap, and

   10   Mr. Bennett, Ellis Bennett has stepped into the hallway to look

   11   for some exhibit binders.     We're here for the defendants, Joseph

   12   and Jenni Loomis.

   13               THE COURT:    All right.    Well, this is the final

   14   pretrial.   I know that you-all have been before Judge Buchanan a

   15   great deal on various discovery issues.       Have those all been

   16   sorted out at this point?

   17               MR. DUNLAP:   Generally, we think, Your Honor.       Of

   18   course, you know, things --

   19               THE COURT:    Why don't you go to the lectern so we have

   20   you by the microphone.

   21               MR. DUNLAP:   Sorry, Your Honor.

   22               THE COURT:    Yeah.

   23               MR. DUNLAP:   I think they've generally been sorted out.

   24   We've had a good working relationship with each other in terms of

   25   calling and trying to figure things out.       We're the third counsel
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    1   in the case.

    2              THE COURT:    I recognize that.

    3              MR. DUNLAP:    We were just local counsel, and we've now

    4   changed to counsel.     So -- but I think they're generally worked

    5   out, Your Honor.    We're prepared to set a trial date.        I don't

    6   think there's going to be anything that would stop us from going

    7   forward today.

    8              THE COURT:    Yes, ma'am.

    9              MS. DICKINSON:    Good morning, Your Honor.      I think we're

   10   fairly close to having things worked out.        We did receive upon the

   11   Court's order a document production from opposing counsel Monday

   12   night.   We determined yesterday evening that the document

   13   production was corrupted somehow.

   14              THE COURT:    Corrupted?

   15              MS. DICKINSON:    Yes.

   16              THE COURT:    Is it electronic production?

   17              MS. DICKINSON:    Yes, ma'am -- or yes, Your Honor.        It

   18   was two productions.     One disk was blank.     The other disk, it

   19   wasn't -- can you explain to her?

   20              The images didn't match up with the load file.         I'm

   21   speaking Greek right now.     I hope you understand.      It's a little

   22   bit beyond me, the technology.

   23              So what we did was we contacted opposing counsel.          We

   24   spoke with their e-discovery vendor, who actually wasn't

   25   responsible for putting together the production, but we put our IT
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    1   people together last night around 9:30 or so, because we haven't

    2   been able to look at the documents yet, and we were able to work a

    3   fix, we believe, for the one set of documents that was blank.

    4                With respect to the other ones, he's in the process of

    5   loading all of this stuff or was doing that last night.          We were

    6   in the office until one.      It wasn't done yet, and we had to come

    7   down here.

    8                So I can't really represent to Your Honor that

    9   everything is done because I haven't seen it yet.

   10                THE COURT:   Well, what are you looking for in particular

   11   within the electronic records?        Are these e-mail communications,

   12   receipts of information?      What are you looking for?

   13                MS. DICKINSON:   We're looking for -- we expect that it

   14   is e-mail communications.     With all honesty, I don't have any idea

   15   what it is, because -- I'm sorry.

   16                THE COURT:   Go ahead.

   17                MS. DICKINSON:   Because we haven't seen them, but what

   18   we did ask for were all e-mails, electronic documents, and that's

   19   what they were supposed to be pulling.

   20                As you've probably seen from the record, we've had great

   21   difficulty getting any documents and then much less in a timely

   22   manner.   I think we first got our first production about -- four

   23   weeks ago?    I'm sorry, I'm not sure.      So we don't have everything,

   24   but --

   25                THE COURT:   What's the time period over which you were
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    1   seeking these records?

    2              MS. DICKINSON:    You mean our discovery request?

    3              THE COURT:    In other words, was it one year's worth of

    4   e-mail messages?    What was the frame -- what was the time frame

    5   for the discovery?

    6              MS. DICKINSON:    It was 2007 forward.

    7              THE COURT:    So roughly two-and-a-half, almost three

    8   years of data.

    9              MS. DICKINSON:    Yes, Your Honor.

   10              THE COURT:    And how big is the defendant?

   11              MS. DICKINSON:    The defendant?     It's individuals.

   12              THE COURT:    It's individuals.

   13              MS. DICKINSON:    Right.   So it's Joe Loomis was the

   14   former founder and owner of the company that we now own, and Jenni

   15   Loomis was his -- is his sister and was his bookkeeper.          So we

   16   have bookkeeping records from her is what we expect and e-mails

   17   between the two of them.     As you know, we've alleged a conspiracy

   18   and fraud in the sale of the company to us, to Intersections.

   19              And then we would expect from him financial

   20   documentation, e-mails, of course, and we have alleged that he

   21   was -- that after he was hired as the CEO of Net Enforcers after

   22   we bought the company, that he then went on and when he was

   23   supposed to be doing work for us as the CEO, he started his own

   24   business and was working on that business instead of ours and was

   25   using our employees for his new business as well.
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    1              So there are a lot of e-mail communications that are

    2   important in this case.

    3              THE COURT:    And what about financial records?

    4              MS. DICKINSON:    Financial records we would expect to see

    5   there as well.

    6              THE COURT:    Have you gotten those yet?

    7              MS. DICKINSON:    Well, we've gotten some, but we don't --

    8   because we don't know what's in there, we can't really tell you,

    9   Your Honor.

   10              THE COURT:    Well, you can't even download the bank

   11   records?   Didn't they come from a bank?

   12              MS. DICKINSON:    No.

   13              MR. DUNLAP:    I think all the financial -- I think the

   14   load files are from --

   15              THE COURT:    You have to be at the lectern.

   16              MR. DUNLAP:    Oh, sorry, Your Honor.

   17              MS. DICKINSON:    Sorry.

   18              MR. DUNLAP:    I think the financial records mostly are on

   19   their side, but the bank records and all of those records have

   20   been previously provided.

   21              The second production, the production for Monday was 45

   22   documents, and I think we've resolved that, but I think the only

   23   records -- and correct me if I'm wrong -- I think the only records

   24   production issue is the set of e-mails -- the 45 documents that we

   25   produced, and we produced them also just without Bates stamps as a
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    1   backup copy in PDF by e-mail, but the load file for Jenni Loomis's

    2   e-mails, and she was the bookkeeper, but I don't believe that the

    3   e-mails that we produced contained financial records.          They were

    4   produced by the accountant earlier in the case prior to the

    5   depositions.

    6               So I think all the financial records are in both

    7   parties' hands.    I think we have everything, and we both

    8   designated financial records as exhibits today.

    9               THE COURT:   All right.   The issue about discovery is

   10   really Judge Buchanan's bailiwick.

   11               MS. DICKINSON:   Yes.

   12               THE COURT:   I just -- because she and I have briefly

   13   talked about this case, and I understand that there were a lot of

   14   issues about potential sanctions that were floating around, and

   15   this case came close at one point to being, as I understand it,

   16   resolved by -- or at least a recommendation to be resolved as a

   17   sanction, so I don't expect that there'll be any further discovery

   18   problems, but if there are, you get them right before Judge

   19   Buchanan.

   20               In any case, are you prepared to exchange your exhibits

   21   and witness lists today?

   22               MS. DICKINSON:   Yes, Your Honor.     We have -- we have

   23   both, I believe, filed witness lists this morning, and we have

   24   provided them with two boxes of exhibits that are numbered, and it

   25   looks like --
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    1              MR. DUNLAP:    We have ours right here, Michelle.

    2              MS. DICKINSON:    They have theirs as well.

    3              THE COURT:    All right, that's fine.     Then we need to go

    4   ahead and set this case for trial, and is this case -- this is set

    5   as a jury trial; is that correct?

    6              MS. DICKINSON:    Well, Your Honor, the defendants have

    7   requested a jury trial as to all matters or all claims so triable.

    8   In the stock purchase agreement, which is the subject of several

    9   of the claims, there's a jury waiver provision, so there are

   10   certain claims that are appropriately tried before the jury, but

   11   others are not.

   12              THE COURT:    All right.     Well, the main thing is if a

   13   jury is needed, then that, you know, to some degree affects how we

   14   schedule the trial, so --

   15              MS. DICKINSON:    And certainly in order to expedite

   16   things, because I think this is going to be a little bit of a long

   17   trial, we would be happy to waive the jury trial as to all claims

   18   if the defendants would do so as well, but that's --

   19              MR. DUNLAP:    Your Honor, our client is seeking a jury

   20   trial still --

   21              THE COURT:    That's fine.     Then we'll just go ahead and

   22   do --

   23              MR. DUNLAP:    -- on those claims triable by a jury.

   24              THE COURT:    All right.     And how long does the plaintiff

   25   think this case will take for trial if it's not resolved?
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    1              MS. DICKINSON:    Your Honor, in light of the fact that

    2   there are claims and then there are counterclaims as well, we

    3   would expect -- we have fourteen witnesses.        Five -- I'm sorry,

    4   sixteen witnesses.    Five of those are deposition testimony.        So I

    5   would expect that we could get the five in in maybe roughly a day

    6   and a half or so, and then the other eleven, some of them we might

    7   be able to get in in a half-day.

    8              THE COURT:    Well, who -- which witnesses are by

    9   deposition?

   10              MS. DICKINSON:    The witnesses that are by deposition are

   11   David Burns; Barbara Davis; Larry Heimer; Jenni Loomis and Joe

   12   Loomis, the defendants; and Ross Volk.

   13              THE COURT:    Well, don't you anticipate the defendants

   14   are going to be here in person?

   15              MS. DICKINSON:    I do anticipate they'll be here in

   16   person.   I'm not sure exactly how Your Honor sets up the trial

   17   when you have counterclaims, so we designated deposition excerpts

   18   so that we could put that in our case-in-chief.

   19              THE COURT:    I think you should call the witnesses.           My

   20   experience --

   21              MS. DICKINSON:    Okay.

   22              THE COURT:    -- especially with a jury trial is there is

   23   absolutely no substitution for the live witness.

   24              MS. DICKINSON:    Oh.

   25              THE COURT:    And therefore, you just call them, and if
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    1   they have to testify twice, they testify twice.

    2              What about the other three witnesses?        Why are they by

    3   deposition?

    4              MS. DICKINSON:     We don't have jurisdiction over them

    5   here, so they're all out of state.

    6              THE COURT:    Do you have any reason to believe they won't

    7   come?

    8              MS. DICKINSON:     Yes.   They've told us they won't come.

    9   That would be Ross Volk, Barbara Davis, and Larry Heimer.

   10              THE COURT:    And have they advised you as to why they

   11   won't come?

   12              MS. DICKINSON:     Larry Heimer, what he has told us is

   13   that he -- and I have no reason not to believe this -- he lives in

   14   Arizona, he is a CPA, he has small children, and so we actually

   15   had to do his deposition remotely because of his time constraints.

   16              Barbara Davis has children, lives in Florida, and

   17   indicated her unwillingness to show up for a trial, or her

   18   displeasure at showing up for trial might be a better way.

   19              And then Ross Volk is the -- is a former employee of

   20   Novartis, one of the customers that cancelled in this case, which

   21   is an issue in this case.      We took his deposition with the idea

   22   that we would not be calling him at trial.        He lives in New

   23   Jersey.

   24              THE COURT:    All right.    It's been my experience that --

   25   now, are you planning -- are these video depositions, or are
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                                                                                   11


    1   they --

    2                MS. DICKINSON:   Yes, yes.

    3                THE COURT:   All right.   My experience has been video

    4   depositions almost never work, and so what you need to be prepared

    5   for with the trial, No. 1, is I want those depositions as pared

    6   down and tailored as possible --

    7                MS. DICKINSON:   Okay.

    8                THE COURT:   -- because the difficulty with a witness

    9   who's not physically in the courtroom or being presented by a live

   10   video presentation is the Court can't control it, and I have found

   11   many times, especially in depositions, where there is no court

   12   present to sort of move things along, that the questions are often

   13   repetitive, unnecessary, etc., and so what I will require you to

   14   do is have transcripts edited to be consistent with how you edited

   15   your videos, and if I find that the videos are just way too slow,

   16   too long, then we will switch to the old-fashioned method, with my

   17   law clerk sitting in the box as the witness, reading the witness's

   18   answers, and then counsel who ask the questions, you know,

   19   plaintiffs' counsel or defense counsel, reading the respective

   20   questions.

   21                So it mimics to some degree live testimony, but it goes

   22   in faster that way.

   23                MS. DICKINSON:   Okay.

   24                THE COURT:   So just be prepared for that.      Again, if

   25   it's a phenomenally well done deposition and it's moving at the
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    1   right pace and you've edited it appropriately, then you may get a

    2   chance to play it.

    3              And you need to contact Mr. Bachman, our court AV

    4   person, to talk about how -- what equipment is going to be needed

    5   to play those depositions.

    6              MS. DICKINSON:     Okay.   We'll do that.    Thank you, Your

    7   Honor.

    8              THE COURT:    All right.    But with a jury trial and the

    9   plaintiff having 16 witnesses -- I mean, I can't imagine five

   10   depositions by video taking a day.       That will be deadly for the

   11   jury, so you need to think about that very creatively.

   12              But in any case, it sounds as though this case will

   13   probably take about a week to try.       Is that your estimate?

   14              MS. DICKINSON:     We were actually thinking that ours

   15   would take over a week, just our case.

   16              THE COURT:    How much money is involved in this case?

   17              MS. DICKINSON:     The amount that exchanged hands was 14

   18   million.   As you are aware, we've asked for rescission -- our 14

   19   million back, they get the company back.        There are punitive

   20   damages at stake here as well.

   21              THE COURT:    All right.    I'm not sure it would take that

   22   much time, but anyway, we'll give you enough time.

   23              All right, have you talked between yourselves about a

   24   date?

   25              MS. DICKINSON:     We have not.    My calendar is open, Your
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                                                                                   13


    1   Honor.

    2              THE COURT:    All right.    We could do this --

    3              MR. DUNLAP:    And, Judge?

    4              THE COURT:    Yeah.

    5              MR. DUNLAP:    I'm sorry to interrupt.      I just made a

    6   couple of quick notes while Michelle was talking.         Our client says

    7   that Barbara Davis will appear for live testimony.         I don't know,

    8   that's what he says, so that might not be an issue.          With respect

    9   to the others --

   10              MS. DICKINSON:     Who?

   11              MR. DUNLAP:    Barbara Davis.     That's what he said.     I can

   12   talk to you about it afterwards.       I don't have the details.

   13              With respect to our case, Your Honor, we believe that

   14   our case, with the witnesses we have, between their witness list

   15   and our witness list, it looks like there will be about 20 to 24

   16   unique witnesses, depending on who's eventually called, so we

   17   believe that our side of the case, with the counterclaims we have

   18   pending, would take anywhere from three to four days.

   19              The total that we came up with in the hallway together

   20   was 13 days.    That's a really long time, obviously, but that's

   21   kind of what we were thinking generally.

   22              THE COURT:    Well, you'll be shocked at how fast things

   23   move in this court, so I would expect a significant amount of

   24   stipulations or at least a hard effort made to stipulate to facts

   25   for which there really is no dispute, and we'll move the case
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    1   expeditiously, but I'll set enough time for this.

    2               MR. DUNLAP:   And, Judge, also, Michelle just reminded me

    3   of this as well, there are five experts, I think -- four experts,

    4   there are four experts to testify as well, which will, you know,

    5   take a significant amount of time probably.

    6               THE COURT:    If I let them testify.     I mean, I can't

    7   imagine four experts needed in one case.        This is not a patent

    8   case.

    9               MR. DUNLAP:   It's not, Your Honor, but there are some

   10   distinct, discrete issues.      There's an electronic e-mail forgery

   11   issue.    There's a damages issue, of course, and so we each have

   12   experts for each of those issues, because they are separate

   13   fields.

   14               So I don't know that there will be substantial testimony

   15   about the electronic issue, but, you know, there are four experts

   16   just noticed.    That's all, Your Honor.

   17               THE COURT:    Well, the e-mail tampering issue, how real

   18   is that?

   19               MS. DICKINSON:    That is as real as I am standing before

   20   you, Your Honor.

   21               THE COURT:    I have to tell both sides that if there is

   22   any significant issue about tampering with evidence, whichever

   23   side is being accused of it, if it's established, you ought to run

   24   to the settlement table and resolve the case.         I've had several

   25   cases where this issue has come up.       It's devastating if there's
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    1   any significant evidence that supports the claim.

    2              Haven't you tried one effort to settle this case?          Have

    3   all the disputes been with --

    4              MR. DUNLAP:    We have a mediation scheduled for Monday,

    5   Your Honor.

    6              THE COURT:    With Judge Buchanan?

    7              MS. DICKINSON:     Yes.

    8              MR. DUNLAP:    Yes, Your Honor.

    9              THE COURT:    Again, this might be the one issue to really

   10   focus on, because as I said, it is a smoking gun of amazing

   11   proportion, and I've seen some very smart people get themselves

   12   into real trouble because they were too clever and they fudged the

   13   documents or they fudged the e-mails and it comes back to haunt.

   14              I can't prejudge the issue, I don't know what your

   15   evidence is, but if it's there, then wise counsel need to sit down

   16   with the client and do damage control.

   17              Judge Buchanan, I know, has a great deal of familiarity

   18   with this case, so I would expect that both parties will take the

   19   settlement conference seriously.       I assume the principals will all

   20   be present at the conference?

   21              MS. DICKINSON:     Yes, Your Honor.

   22              MR. DUNLAP:    Yes, Your Honor.

   23              THE COURT:    All right.    Well, that's good.

   24              All right.    In any case, if the case does not settle, is

   25   there an expectation of dispositive motions, or are there too many
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    1   factual issues in dispute to make sense to try to file --

    2              MS. DICKINSON:     Well, Your Honor, you had mentioned the

    3   stipulation of facts, and the defendants in this case won't even

    4   stipulate to the fact that there was an employment agreement or a

    5   stock purchase agreement at this point, so --

    6              THE COURT:    I'm sorry?

    7              MS. DICKINSON:     Sorry.

    8              THE COURT:    Yeah.

    9              MS. DICKINSON:     They won't even stipulate to the fact

   10   that there was an employment agreement or a stock purchase

   11   agreement in this case, even though those are the bases for two of

   12   their claims against our clients.       So, you know, our stipulation

   13   of facts is about a page and a half/two pages that we filed this

   14   morning, as opposed to what I would expect would be more like ten.

   15              THE COURT:    All right.    Well -- and again, it's been my

   16   experience where there are obvious facts and one side is refusing

   17   to stipulate to them, that suggests that there's a real problem

   18   with that particular side of the case, but I'm not going to get

   19   into the merits of that right now.

   20              But the answer is you don't at this point anticipate at

   21   least from the plaintiffs' side filing dispositive motions?

   22              MS. DICKINSON:     Not a dispositive motion, Your Honor,

   23   just because of that fact, but we do expect to be filing a

   24   spoliation motion.

   25              THE COURT:    All right.    Do you want to respond to that
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                                                                                   17


    1   at all yet?

    2              MR. DUNLAP:    Sure.    Your Honor, we for our part, and

    3   we've been talking to them about this, but we feel there's a

    4   spoliation motion on our side as well with respect to their client

    5   and a certain e-mail box.

    6              Likewise, with respect to the -- I think there's an

    7   issue with authenticating the asset purchase agreement.          There are

    8   counterclaims that were filed by previous counsel and --

    9              THE COURT:    Weren't there problems with previous counsel

   10   in this case?

   11              MR. DUNLAP:    I believe there were problems with previous

   12   counsel.

   13              THE COURT:    It might suggest -- I'm not saying it's the

   14   case -- it might suggest that you as the counsel of record, you're

   15   the one who's on the hook --

   16              MR. DUNLAP:    Absolutely, Your Honor.

   17              THE COURT:    -- need to review under Rule 11 --

   18              MR. DUNLAP:    Judge, I'll tell you this up front and we

   19   told counsel this today, that we're withdrawing the counterclaims

   20   with respect to the asset -- well, we've advised our client to do

   21   that with respect to the asset purchase agreement.

   22              MS. DICKINSON:       Stock.

   23              MR. DUNLAP:    Stock purchase agreement, I'm sorry, stock

   24   purchase agreement.     So --

   25              THE COURT:    What would that leave then in terms of the
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                                                                                   18


    1   counterclaim?

    2              MR. DUNLAP:    There's a wrongful termination claim that's

    3   left, Your Honor, so it reduces, I guess, significantly in terms

    4   of counterclaim time what we would need, but it's our -- we

    5   anticipate that our client will agree to this.

    6              We've stepped into a client that I've actually never met

    7   yet, because we've only been in the case 30 days, and we were kind

    8   of -- I don't know if you read Judge Buchanan's order, but we were

    9   kind of put in the position of having to be in the case and

   10   originally had just been local counsel, so --

   11              THE COURT:    Never use that modifier of only local

   12   counsel.

   13              MR. DUNLAP:    I understand.    I absolutely understand,

   14   Your Honor.

   15              THE COURT:    All right.

   16              MR. DUNLAP:    And that's why we're here today before you,

   17   Your Honor, and smiling, but we anticipate withdrawing those

   18   counterclaims, so --

   19              THE COURT:    Well, hopefully, your client listens to you,

   20   and you listen carefully to particularly Judge Buchanan, who knows

   21   this case far better than I.      In any case, the spoliation motions

   22   ought to be resolved.     If you don't settle, those motions ought to

   23   get docketed quickly --

   24              MS. DICKINSON:     Okay.

   25              THE COURT:    -- because the resolution of those motions
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                                                                                       19


    1   again might put the case in a very different posture pretrial, all

    2   right, and/or set it up for a different type of settlement

    3   approach.

    4               MR. DUNLAP:   All right.

    5               THE COURT:    But in any case, you know, perhaps you won't

    6   have to get to that point if you can, if you can resolve it.

    7               We'll set this case for late February.       I have the week

    8   of March 1 and March 8 are completely open, so do those work on

    9   your calendars?    We would start on Monday, March 1.

   10               MS. DICKINSON:    I'm sorry, Your Honor, I didn't hear the

   11   date.

   12               THE COURT:    Monday, March 1.

   13               MS. DICKINSON:    Okay.

   14               THE COURT:    That works well on my calendar because it,

   15   the second week is also completely open.

   16               MR. DUNLAP:   Your Honor, March 8 would be better for us.

   17               MS. DICKINSON:    Your Honor, either works for us,

   18   assuming that you have enough time if you started it March 8.              I

   19   thought you were saying that you only had --

   20               THE COURT:    No, no, March 1 is better for the Court,

   21   because I know that I have all of the week of March 8 completely

   22   open.

   23               MS. DICKINSON:    That's great with us, Your Honor.

   24               MR. DUNLAP:   Okay.   Your Honor, March 1 will work.

   25               THE COURT:    All right, that's fine.     And that will be at
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    1   10:00 at this point with a jury.

    2               MS. DICKINSON:    Your Honor, how does that work in your

    3   courtroom, when you have claims that are being tried to the jury

    4   as well as claims that are being tried to Your Honor?

    5               THE COURT:    Well, the only claim then -- if the asset

    6   purchase agreement counterclaim issue is out, then the only issue,

    7   as I understand it, left in the counterclaim is one of wrongful

    8   termination; is that right?

    9               MR. DUNLAP:   That's correct, Your Honor.

   10               THE COURT:    And that's the only issue for which a jury

   11   trial has been requested.

   12               MS. DICKINSON:    We have a --

   13               MR. DUNLAP:   They have a request as well.

   14               MS. DICKINSON:    We have a breach of employment agreement

   15   claim as well that would be -- if their employment claim is going

   16   to be tried before the jury, we would want to do that as well,

   17   Your Honor, and we also have conversion and tortious interference

   18   claims which would be proper to put in that bailiwick in front of

   19   the jury.

   20               Then it would be the stock purchase agreement claims,

   21   the fraud, the securities fraud, and the breach of contract that

   22   would go before your Your Honor.

   23               THE COURT:    Well, there are two ways of doing it.       I

   24   mean, we're not going to bifurcate the case, because there's going

   25   to be too much overlap of evidence.       So we would simply try the
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    1   whole case to the jury basically, and I probably would let the

    2   jury do an advisory verdict.      That's what a lot of judges do.

    3   And, you know, I can decide the case as well, but since we're

    4   going to have a jury here, we can just have them hear the whole

    5   thing.

    6              MS. DICKINSON:     Okay.

    7              THE COURT:    All right?

    8              MS. DICKINSON:     Thank you, Your Honor.

    9              THE COURT:    And -- so it won't change anything.        In

   10   terms of, you know, we'll address the issue about jury

   11   instructions and that sort of thing down the road, but it -- so

   12   the trial would just go through sort of seamlessly in that

   13   respect, all right?

   14              MS. DICKINSON:     Thank you.

   15              THE COURT:    All right.    So we're set to start this case

   16   with a jury on Monday, March 1.       Depending upon how the trial is

   17   going, you should expect to be here for those trials days until

   18   6:00, and probably we'll start them at 9:30 in the morning after

   19   the first day.

   20              Whether we hold court on Friday, March 5, is going to

   21   depend to some degree where I feel we are on the schedule.

   22   Frequently, while evidence is being taken, because we have our

   23   motions dockets on Friday, we often don't have our jury trials

   24   continued on Fridays.     Sometimes, though, for scheduling reasons,

   25   we do, so you just have to keep your calendars open for Fridays as
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                                                                                   22


    1   well, although you could count on not having to be here Friday

    2   morning, certainly not Friday morning the 5th.

    3              If the jury has the case and they're deliberating, they

    4   can deliberate while I'm holding a motions docket, so then you

    5   might have to be here on the 12th in the morning.         I know that

    6   some of you have motions hearings in other courts on Friday

    7   mornings here in Virginia especially.

    8              So just understand the 5th you can comfortably go

    9   someplace in the morning; we might or might not have the trial in

   10   the afternoon here; but the 12th you'd better sort of block out,

   11   because if the jury is deliberating at that point, you'd have to

   12   be here in the morning, all right?

   13              Anything further on this case?

   14              MR. DUNLAP:    There's nothing further from the defendant,

   15   Your Honor.

   16              MS. DICKINSON:       Your Honor, two things, I believe.

   17              THE COURT:    Yes.

   18              MS. DICKINSON:       With respect to the spoliation motion,

   19   do you want us to just -- do you want to set a deadline, or we'll

   20   just file them as soon as possible?

   21              THE COURT:    I'm here all the Fridays between now and

   22   that trial, so just you go ahead and work it out in terms of a

   23   date that's good for both of you.       I recommend, however, that the

   24   earlier that issue gets resolved, it will put the trial in a

   25   different context.     So don't push it right up against the trial
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                                                                                   23


    1   date, all right?

    2              MS. DICKINSON:     Okay.   And my other question, Your

    3   Honor, was with respect to jury instructions, do you have -- are

    4   there any standard instructions or any format --

    5              THE COURT:    We use the standard federal, you know,

    6   Sand's or the old -- Sand's or O'Malley.        I don't know, are there

    7   any state law issues in this case?       What --

    8              MS. DICKINSON:     The employment agreement is under state

    9   law.

   10              THE COURT:    Which, the law of which state?

   11              MS. DICKINSON:     I think it's Delaware.

   12              MR. DUNLAP:    I think it's Delaware.

   13              MS. DICKINSON:     I'm so sorry that that has slipped my

   14   mind.

   15              THE COURT:    All right.

   16              MS. DICKINSON:     Three hours of sleep, I'm tired.

   17              THE COURT:    Yeah.   Just make sure that if there's any

   18   issues about which law applies --

   19              MS. DICKINSON:     Okay.

   20              THE COURT:    I mean, you know, I wouldn't have Delaware

   21   instructions here.     I don't know how different, if at all, they

   22   are from Virginia instructions, but those issues you need to get

   23   resolved, all right?

   24              MS. DICKINSON:     We will.   Thank you very much, Your

   25   Honor.
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    1              THE COURT:    All right, very good.

    2              MR. DUNLAP:    Thank you, Your Honor.

    3                                (Which were all the proceedings

    4                                 had at this time.)

    5

    6                         CERTIFICATE OF THE REPORTER

    7        I certify that the foregoing is a correct transcript of the

    8   record of proceedings in the above-entitled matter.

    9

   10

   11                                                  /s/
                                                Anneliese J. Thomson
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